                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

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ZACHARY CLOSE,                      )
                                    )
            Plaintiff,              )
                                    )
                    v.              )                Civil Action No. 20-11871-MLW
                                    )
ACCOUNT RESOLUTION                  )
SERVICES, et al.,                   )
                                    )
            Defendants.             )
____________________________________)


                                    SCHEDULING ORDER

                                         February 10, 2021

       This Scheduling Order is intended to provide a reasonable timetable for discovery and
motion practice in order to help ensure a fair and just resolution of this matter without undue
expense or delay.
                         Timetable for Discovery and Motion Practice

       Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f), it
is hereby ORDERED that:
       1.      Initial Disclosures: The parties will exchange the information required by Fed.
               R. Civ. P. 26(a)(1) by February 10, 2021.
       2.      Amendments to Pleadings. Except for good cause shown, no motions seeking
               leave to add new parties or to amend the pleadings to assert new claims or
               defenses may be filed after March 3, 2021.
       3.      Fact Discovery - Interim Deadlines.
               a.      All written fact discovery must be served by May 10, 2021.
               b.      All depositions, other than expert depositions, must be completed by
                       August 6, 2021.



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4.   Fact Discovery - Final Deadline. All discovery, other than expert discovery,
     must be completed by September 13, 2021.
5.   Status Conference. A status conference will be held on July 28, 2021 at 11:00
     a.m. in Courtroom 14 on the 5th floor before the Hon. Jennifer C. Boal, U.S.M.J.
     By July 26, 2021, the parties shall file a STATUS REPORT indicating the current
     status of the case, including whether the parties intend to seek expert discovery
     and/or intend to file any dispositive motions, whether the parties are interested in
     mediation, as well as any other matter relevant to the progress of the case.


                               Procedural Provisions
1.   Status Conferences. The Court has scheduled a status conference after (or close
     to) the close of discovery for case management purposes. Any party who
     reasonably believes that a status conference will assist in the management or
     resolution of the case may request one from the Court upon reasonable notice to
     opposing counsel.
2.   Additional Conferences. Upon request of counsel, or at the Court’s own
     initiative, additional case-management or status conferences may be scheduled.
     Parties may request telephonic conferences where appropriate to avoid undue
     inconvenience or expense.
3.   Early Resolution of Issues. The Court recognizes that, in some cases, resolution
     of one or more preliminary issues may remove a significant impediment to
     settlement or otherwise expedite resolution of the case. Counsel are encouraged
     to identify any such issues and to make appropriate motions at an early stage in
     the litigation.
4.   Pretrial Conference. Lead trial counsel are required to attend any pretrial
     conference.
5.   Modification of Scheduling Order. Pursuant to Local Rule 16.1(g), the
     Scheduling Order, having been established with the participation of all parties,
     can be modified only by court order, and only upon a showing of good cause
     supported by affidavits, other evidentiary materials, or references to pertinent
     portions of the record. All motions to extend shall contain a brief statement of the

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reasons for the request; a summary of the discovery, if any, that remains to be
taken; and a specific date when the requesting party expects to complete the
additional discovery, join other parties, amend the pleadings, or file a motion.
                                      /s/ Jennifer C. Boal
                                      JENNIFER C. BOAL
                                      United States Magistrate Judge




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